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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Vioxx MDL Docket No. 1657
PRODUCTS LIABILITY LITIGATION SECTION L’
This document relates to JUDGE FALLON

Case No. 05-6404

MAGISTRATE JUDGE KNOWLES

MARIA ISABEL VELEZ-REYES, et al.
Plaintiff,

VS.

MERCK & CO., INC., et al

Defendant.

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ORDER OF DISMISSAL WITHOUT PREJUDICE

Considering the Stipulation of Dismissal Without Prejudice filed herein,
IT IS ORDERED that all claims of Miguel Angel Astor-Villanueva be and they
hereby are dismissed without prejudice, each party to bear its own costs, and subject to the terms

and conditions set forth in said stipulation.

NEW ORLEANS, LOUISIANA, this day of , 2006.

ELDON E. FALLON
UNITED STATES DISTRICT JUDGE

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